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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- x
TZVI WEISS, et al.,                                         :
                                                            :
                                    Plaintiffs,             :
                                                            :
                        - against -                         :   CV 05-4622 (CPS) (KAM)
                                                            :
NATIONAL WESTMINSTER BANK PLC,                              :
                                                            :
                                    Defendant.              :
----------------------------------------------------------- x



                    NOTICE OF MOTION TO COMPEL PRODUCTION
                OF DOCUMENTS AND ANSWERS TO INTERROGATORIES

                 PLEASE TAKE NOTICE that upon the accompanying Memorandum Of Law In

Support Of Defendant’s Motion To Compel Production of Documents and Answers to

Interrogatories, the attached Declaration Of Lawrence B. Friedman In Support Of Defendant’s

Motion To Compel Production of Documents and Answers to Interrogatories, dated October 18,

2006, and the exhibits attached thereto, Defendant National Westminster Bank Plc will move on

a return date to be set by the Court, for an order pursuant to Rule 37(a) of the Federal Rules of

Civil Procedure granting Defendant’s motion for an order compelling production of documents

and answers to interrogatories.

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s October 6,

2006 order, plaintiffs’ opposition papers shall be served on or before November 9, 2006, and
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Defendant's reply papers shall be served and the fully briefed motion filed on or before

November 29, 2006.


Dated: New York, New York
       October 18, 2006

                                         Respectfully submitted,

                                         CLEARY GOTTLIEB STEEN & HAMILTON LLP


                                         By:_______1~
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